2003-mma 15:»:15 tz law EMEUEB'|EA :=»> E.».1553?2552
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tim go mu.n_A &q uogou syq:, go saoue;smnoq:) pma along sup mgm m![gum_} £un__; am 1 -z
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